SPERLlNG & SLATER

PROFESS|ONAL CORPORAT|ON

TE|_EPHONE 55 Wz-:s'r MoNRoE STREET
(3|2) 641-3200 SulTE 3200
FAcslMu_\-: February 12, 2019 cchAGo, lt 60603

(3|2) 641-6492

VIA ECF

Honorable J. Paul Oetken
Thurgood Marshall
United States Courthouse
40 Foley Square

NeW York, NY 10007

Re.' Silvercreek Management, Inc., et al. v. Citigroup, Inc., et al.,
Case No. 02-CV-08881-JPO

Dear Judge Oetken:

I Write on behalf of the Silvercreek Plaintiffs in response to the Court’s Order, dated
January 17, 2019. The Silvercreek Plaintiffs intend to pursue their claims against Defendants
Causey and Skilling to conclusion Although the parties have attempted to resolve these last
remaining claims, at this juncture it appears unlikely the parties Will be able to reach a settlement

Previously, during the pendency of the Silvercreek Plaintiffs’ claims against the remaining
Bank Defendants, a trial of this matter appeared necessary. However, now that the Silvercreek
Plaintiffs have resolved their claims against the remaining Bank Defendants, a trial should no
longer be needed, as there are no disputes of fact concerning certain of the Silvercreek Plaintiffs’
claims against Defendants Causey and Skilling; namely, Counts 7 (Violations of Section ll of the
Securities Act) and 9 (Violations of Article 581-l et seq. of the Texas Securities Act) of the Third
Amended Complaint.

Because the Silvercreek Plaintiffs anticipate that any judgment on their Section ll and
TSA claims Will sufficiently compensate them, given their current understanding of the assets
possessed by Defendants Causey and Skilling, the Silvercreek Plaintiffs do not believe a trial on
their other claims Will be necessary. For this reason, the Silvercreek Plaintiffs Will move to
voluntarily dismiss, pursuant to Fed.R.Civ.P. 4l(a)(2), those other claims against Defendants
Causey and Skilling, i.e., Counts 4 (Fraud and Deceit), 5 (Negligent Misrepresentation) and 10
(Violations of lO(b) of the Securities EXchange Act).

As to the remaining two counts, the Silvercreek Plaintiffs move the Court for leave to file
motions for summary judgment against Defendants Causey and Skilling With respect to Counts 7
and 9. Based on the criminal convictions against Causey and Skilling related to their respective
roles in the Enron accounting fraud, including material misstatements and omissions in Enron’s
SEC filings, there are no genuine issues of material fact in dispute With respect to these claims.
Notably, unlike the fraud and negligent misrepresentation claims, the Silvercreek Plaintiffs’
Section ll and TSA claims are strict liability and do not require proof of elements such as reliance

SPER|_|NG & SLATER

Honorable J. Paul Oetken February ll, 2019
Page 2

and loss causation

As a consequence, the Silvercreek Plaintiffs propose that the current trial schedule be
vacated in favor of a relatively short 75 day briefing schedule on motions for summary judgment
The Silvercreek Plaintiffs propose the following briefing schedule:

¢ Plaintiffs to file motions for summary judgment on Counts 7 and 9 on or before
March 15, 2019, and to simultaneously file a motion to voluntarily dismiss Counts
4, 5 and 10;
Defendants to respond by April 15, 2019; and

¢ Plaintiffs to file any reply in support by April 30, 2019.

Thereafter, the Court can determine Whether oral argument on the motions are necessary. Should
the Court deny the Silvercreek Plaintiffs leave to file the contemplated motions for summary
judgment, We are prepared to proceed to trial on Counts 7 and 9 against Defendants Causey and
Skilling on the current schedule. We anticipate that trial on these claims can be completed in seven
trial days or less but Will nonetheless involve a substantial investment of the parties and the Court’s
time. The undersigned contacted counsel for Defendants Causey and Skilling in advance of filing
this letter but have not yet received a response as to their positionsl

Respectfully submitted,

,/Wf%/

Scott F. Hessell

cc: Counsel of Record (vz'a ECP)

